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       NOW COMES plaintiff, the United States of America, by Justin E. Herdman, United

States Attomey for the Northern   District of Ohio, and Phillip J. Tripi, Assistant U.S. Attomey,

and tiles this Complaint in Forfeiture, alleging on information and belief the following:

                            JURISDICTION AND INTRODUCTION

       1.      This Court has jurisdiction over this ln retn proceeding pursuant to 28 U.S.C.

$$ 1345 and 1355, and2l U.S.C. $ 881.

       2.      This Court has venue in this matter pursuant to 28 U.S.C. g 1395.

       3.     Defendant"$22,310.00 in U.S. Cunency (hereinafter "defendant currency") was

seized on August   6,2018. Defendant currency is now in the possession of the federal

government.

       4.      Subsequent to the seizure. Customs and Border Protection (hereinafter "CBP")

commenced administrative forfeiture proceedings against the defendant currency. A claim to
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the defendant currency was submitted in the administrative forfeiture proceeding by Michelle

Moore (hereinafter "Moore"), necessitating the filing of this judicial forfeiture action.

       5.          The defendant currency is subject to forfeiture to the United States pursuant to

21 U.S.C. S 881(aX6), because it constitutes proceeds traceable to drug trafficking activities

and/or was used or intended to be used to facilitate drug trafficking in violation of   2i   U.S,C.

$S 8a1(a) and/or 846.

                                         FORFEITURE COLINT

       6.          On August 6,2018, Moore was a ticketed passenger on Allegiant Airlines Flight

No. 1751, departing from Cleveland, Ohio, and destined for Ft. Lauderdale, Florida.

        7.         During routine administrative screening of Moore and her cany-on luggage by the

Transportation Safety Administration (hereinafter "TSA"), screeners observed that Moore's

caryon bag alerted for the presence of an unidentified bulk organic mass.

        8.         TSA officers conducted an administrative search of the luggage and discovered

blue plastic grocery bag containing rubber-banded bundles of currency of mixed denominations,

later determined to be defendant $22,310.00 in U.S. Currency.

        9.         A TSA officer alerted Cleveland Police Division (hereinafter "CPD") officers

working the checkpoint, who notified Homeland Security Investigations (hereinafter "HSI")             of
the discovery ofthe defendant curency.

        10.        Moore told CPD officers that the currency was withdrawn from her credit union

over time.

        1   1.     Moore was advised by CPD that she was not under arrest and was free to go.

CPD further advised Moore that HSI was responding and her luggage would be detained until
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then.

        12.    An HSI agent arrived, identified himself, and requested Moore to voluntarily

accompany agents to the HSI office at the airport to discuss the currency, which she agreed to

do.

        13.    Moore initially claimed to be a full-time employee of the U. S. Veterans

Administration (hereinafter "VA") and provided her supervisor's name.

        14.    Upon further questioning, Moore acknowledged that she was on medical leave

from the VA for a while and is now resigned from her position.

        15.    Moore stated the currency in her luggage was approximately $23,000.00 and that

she was carrying approximately $600.00 in her wallet in addition to the defendant currency.

        16.    Moore stated that she was travelling with the currency to deposit it in a business

account, but did not identifu what business she had in Florida.

        17.    Moore consented to a search and HSI agent observed a blue plastic bag was

located within Moore's luggage, containing several bundles of U.S. Currency, rubber banded and

of mixed denominations, later determined to total $22,310.00. Her wallet contained $787.00.

        18.    Moore repeatedly stated that the currency was hers and that she was not

transporting it for any other person. She acknowledged that the currency in her possession had

the appearance of drug proceeds, but insisted it had been withdrawn from her credit union and a

canine sniff would not find the odor of narcotics on it.

        19.    Moore claimed she received a ride to the airport from a person she identified as

Greg.   She provided a last name but was unsure of the spelling of his last   name.   She provided a

phone number, which later turned out to be an invalid number.
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        20.      It was leamed during   a consensual   review of Moore's cell phone that Greg was

listed in her phone as "Mr. Wrong."

        21.      A text from Mr. Wrong from two days earlier contained only an address on

Ivanhoe Road, which HSI knew to be located in a known high intensity drug trafficking area in

Cleveland, Ohio.

        22.      Moore could not explain the text other than stating that she occasionally receives

texts from him that only contain an address with no further explanation.

       23.       Moore explained to HSI that a receipt lor a Westem Union wire transfer      of

$2,500.00 dated July 30, 2018, was for a money transfer to a friend in Texas who was in need          of
money and denied that it represented the transfer oldrug proceeds.

       24.       Moore explained to HSI that a second receipt for a Westem Union wire transfer of

S2,500.00 dated August 1,2018, was for a money transfer to another individual and denied that          it

represented the transfer of drug proceeds.

       25.       Moore had two Ohio Direction cards, used for the electronic distribution of

income-based food assistance provided by the Ohio Department ofJob and Family Services, in

her possession; one in her name and one in the name ofJeffrey Moore, who she identified to be

her brother.

       26.       A certified CPD canine officer and his canine, "Hugo," conducted    a   controlled

test at the airport, during which the canine made a positive alert for the odor ofnarcotics on the

defendant currency.

       27.       HSI seized the defendant currency.

       28.       By reason ofthe foregoing, the defendant currency is subject to forfeiture to the
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United States pursuant to the statutory authority set forth in paragraph 5 hereof.

       WHEREFORE, plaintiff prays that this Court enter judgment condemning the defendant

currency and forfeiting it to the United States of America for disposition according to law and for

such other relief as this Court may deem just and proper.

                                              Respectfully submitted,




                                      By:

                                              Reg. No. 0017767
                                              United States Court House
                                              801 West Superior Avenue, Suite 400
                                              Cleveland, OH 44113
                                              Phone: (216) 622-3769
                                              Fax: (216)522-7499
                                              Phillip.Tripi@usdoj. gov
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       I, Phillip J. Tripi, being first duly swom, depose and say that I am an Assistant United

States Attomey for the Northem   District of Ohio, and one of the attorneys for the Plaintiff in this

action. Under penalty of perjury I depose and say the foregoing Complaint in Forfeiture is based

upon information officially provided to me and is


                                                       illip J. Tripi
                                                     Assistant U.S. Attorney


       Sworn to and subscribed in my presence this          day of December, 2018.




                                                     Notary Public
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                                                                                                                   County of Residence of First Listed   Defendant Cuyahoga, Ohio




                                                                                                                                                                          and One Roxlor Defendant)
                                                                                                                                                                                            PTF      DEF
                                                                                                                                                     lncorponted or Principal Place         O 4      J    4
                                                                                                                                                        ofBusiness ln This State

                                                                                                                                                     lncorpomtedandhincipalPlace             O 5     O    5
                                                                                                                                                         of Business [n Anoths State

                                                                                                                                                     ForeignNation                           D 6     16



    I   l0 [nsumce                                                                                                                                                       D    375 False Claims Act
    120 Mrine                                                                                                                                                            D    376QuiTam(31 USC
    130 Miller Act                                                                                                                                                                3729(a))
    140  Negotiable Instrwnflt                                                                                                                                           O    400 State Reapportionment
    I 50 Reovery ofOverpayment                                                                                                                                           O    410 Antitrut
         & Enforcment of Judgment                                                                                                                                        O    430 Bmks md Bmking
    l5 I Medicm Act                                                                                                                                                      D    450 Commerce
    I   52 Recovery ofDefaulted                                                                                                                                          O    460 Deponation
           Student Loans                                                                                                                                                 D    470 Racketeer Influenced and
          (Excludes Vetsms)                                                                                                                                                       Compt Orgmiztions
    1   53 Recovery ofOverpalment                                                                                                                                        D    480 Consmer Credit
          of V€term's Benefits                                                                                    Act                                                    O    490Cable/SatTV
    160 Stockholders' Suits                                                                                 720 Labor/Management                                         D    850 Secuities/CommoditieV
    190 Othq Contract                                                                                           Relations                                                          Exchage
    195 Contract hoduct Liability                                                                           740 Railway Labor Act                                        O    890 Other Statutory Actions
    196 Fmchise                                                                                         D   751   FmilymdMedical                                         O    891 Agricultml Acts
                                                                                                                Leave Act                                                O    893 Enviromental Matters
                                                                                                        D   790 OtherLabor Litigation                                    CI   895 Freedom of lnfomation
                                                                                                        O 79t     Employee Retirment                                               Act
O   210 Lmd Condemnation             O 440 Other Civil Rights             Hrbees Corpus:                          Income Secuity Act                                     O    896 Arbitration
0   220 Foreclosure                  D 441 Voting                     O   463 Alien Detainee                                                                             O    899 Administrative Procedwe
D   230 Rent Leme & Ejectment        D 442 Employmmt                  O   510 Motions to Vacate                                                                                   Act/Review or Appeal    of
D   240 Torts to Land                O 443 Housing/                           Senlence                                                                                            Agency Decision
D   245 Tort Product Liability               Acmmmodatioro            D   530 General                                                                                    D    950 Constitutionality of
O   290 All Other Real Property      0   445 Amer. w/Disabilities -   O   535 Death Penalty                                                                                       State Statutes
                                           Employment                     Other:
                                     O 446 Arcr. w/Disabilities -     D   540   Mmdamus & Other
                                           Other                      O   550   Civil Rights
                                     D 448 Education                  0   555   Primn Condition
                                                                      D   560   Civil Detainee -
                                                                                Conditions of
                                                                                Confinemmt

V. ORIGIN (l'ldceqn -\" in()neRoxonl.v)
                                                          O3          Remanded from                O4   Reinstated or      D   5 Transferred from
                                                                      Appellate Court                   Reopened                 Another District

                                                         civil   statute under which you arc frling (Do not citcjurisdictional statutr unl6s dive$ily)




                                                                                                                                                                        ifdemanded in complaint
                                                                                                                                                                               D   Yes       trNo
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        Thisaction is I-_-l    neufeo    to another PENDh,lc civilcase.     Thisactioni"     l-l    REFILED pursuant to LR 3.1

lfapplicable, please indicate on page    I   in section Vlll, the name ofthe Judge and case number.


lll.    ln accordance with Local Civil Rule 3.8, actions involving counties in the Eastern Division shall be filed at any of the
        divisional offices therejn. Actions involving counties in the Western Division shall be filed at the Toledo office. For the
        purpose of determining the proper division, and for statistical reasons, the following information is requested.

       ANSWER ONE PAMGRAPH ONLY, ANSWER PARAGMPHS        1 THRU 3IN ORDER, UPON FINDING WHICH
        PARAGRAPH APPLIES TO YOUR CASE, ANSWER IT AND STOP,

        (1)       Resident defendant. If the defenda nt resides in a county within this district, please set forth the name of such
        county
        COUNrY:     cuvahoga

       egpggtig!      For the purpose of answering the above, a corporation is deemed to bea resident ofthat county inwhich
        it has iis principal place of business in that district

        (2)       Non-Resident defendant, lf no defendant is a resident of a county in this district, please set forth the county
                  wherein the cause of action arose or the event complained of occurred.
        COUNTY:

        (3)       Other Cases. lf no defendant is a resident of this district, or if the defendant is a corporation not having a principle
                  place of business within the district, and the cause of action arose or the event complained of occurred outside
                  this district, please setforth the county ofthe plaintiffs residence.
        COUNTY:

lV.     The Counties inthe Northern District of Ohioaredivided into divisions as shown below. After the county is
        determined in Section lll, please check the appropriate division.
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                      Defendant.

       Please issue a Warrant of Arrest   in Rem to the U.S. Customs and Border Protection on

behalf of the United States Attorney's Office.

                                                 Respectfully submitted,
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                                                                   Complaint in Forfeiture
was filed in this Court by Justin E. Herdman, United States Attorney for this District, on behalf of the United
States, against:

     522,310.00 in U.S. Currency

     CATS Asset ID# l8-CBP-000347

         and WHEREAS, the defendant properties are currently in the possession, custody or control of the United
States; and.

         WHEREAS, Rule G(3)(b)(i) of the SupplementalRules for Admiralty or Maritime Claims and Asset
Forfeiture Actions directs the Clerk of the Court to issue a warrant of arrest in rem for the arrest of the defendant
properties; and,

         WHEREAS, Rule G(3)(c) of the Supplemental Rules for Admiralty or Maritime Claims and Asset
Forfeiture Actions provides that the warrant of arrest in rem must be delivered to a person or organization
authorized to execute it;

        YOU ARE COMMANDED to arrest the defendant properties by serving a copy of this warrant on the
custodian in whose possession, custody or control the properties are presently found, and to use whatever means
may be appropriate to protect and maintain it in your custody until further order of this Court.

        YOU ARE FURTHER COMMANDED to file the same in this Court with your return thereon.




                                     Returnable                 days after issue.
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United States of Amedca




                                          NAME AND ADDRESS BELOW
SENO NOTICE OF SERVICE COPYTO REOUESTERAT

ffriUip     1- e"sistant United States Attomey
                 tapi,
Offce of the United States AttomeY
400 United States Courthouse
Cleveland' Ohio '14113




                                                 service on behalf   of   I   PLAINTIFF




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                                                                                                LNSERTED BELOW
                                             ETC AT THE   ADORESS SHOWN ABOVE OR ON THE ADDRESS



                                                                                          E   A person of suitable age and discretlon lhen residing
                                                                                              ln ihe defendant's usual place of abode


 ADDRESS: (Complete only if different than shown above)
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                        Michel-Ie K. Moore
                        c/o Myron P. Watson
                        6).4 W. Superior Ave .
                        Cleveland, Ohio 44113
     The above-captioned forfeiture action was filed in U.S.
District Court on December L2, 20L8. A copy of the complaint is
attached. If you claim an interest in any of the defendant
properties, Ehe following applies.
     Pursuant to Rule c of the Suppl-ement.af Rufes for Admiralty
or MarlEime and Asset Forfeiture Cfaims, you are required to
file with the Court, and serve upon Phi.11ip ,J. Tripi, plaint.if f's
attorney, whose address is United Stsatses At.t.orney's Office;
UniEed States Court House; 801 West Superior Avenue, Suj.te 400;
Cl-eveland, Ohio 44113, a verified claim to the defendant
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properties within tshirty-five (35) days aftser your receipt of
the complaint. Said claim sha11 conEain the informaEion
required by Rule G(5) of the said supplemental                  Ru1es.

Additional-l-y, you must f il-e and serve an answer tso tshe complaint
or a   motsion under Rul-e 12    of the Civil Rules of Procedure,
wj-Ehin twenty (20) days afEer Ehe filing              of lhe cfaim, exclus    j.ve

of the   datse   of filing.    If you fail to do so,        j udgrment. by

defauft will be taken for the relief             demanded   in the complaint.

                                      very truly yours,
                                      ,Justsin   E.   Herdman
                                      United States Attsorney
